Case 3:22-cr-00228-L BXELRR ALATA DIR ERED COURT of 1 PagelD 33

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
JUDGE: _REBECCA RUTHERFORD
DEPUTY CLERK: L. Price COURT REPORTER/TAPE NO: FTR
LAW CLERK: USPO/PTSO:
INTERPRETER: COURT TIME: 1: aA) —7A: ‘TK
A.M. | P.M. DATE: June 15, 2022
COMAG. NO. ODIST. CR. NO. 3:22-cr-00228-L *SEALED* USDJ Judge Sam A. Lindsay
UNITED STATES OF AMERICA § __NicoleDana__ ss AUSA
§
V. §
§
§ ___Wesley Spencer O
DEMONTRE ANTWON HACKWORTH (1) § COUNSEL FOR DEFENDANTS APPT — (A), Retd — (R), FPD — (F)

SIpATIAL APPEARANCE CJIDENTITY CIBOND HEARING CIPRELIMINARY HEARING

DETENTION HEARING LICOUNSEL DETERMINATION HEARING LIREMOVAL HEARING CIEXTRADITION HEARING
CL) HEARING CONTINUED ON CASE NO. CIOTHER DISTRICT CIDIVISION

C) DATE OF FEDERAL ARREST/CUSTODY: ([JSURRENDER

C1) RULE 5/32 LJAPPEARED ON WRIT

CO) DEFT FIRST APPEARANCE. DEFT ADVISED OF RIGHTS/CHARGES LIPROBATION/SUPERVISED RELEASE VIOLATOR
C) DEFT FIRST APPEARANCE WITH COUNSEL.

(1) DEFT LJIMW (MATERIAL WITNESS) APPEARED LJWITH CIWITHOUT COUNSEL

CL) REQUESTS APPOINTED COUNSEL.

C1) FINANCIAL AFFIDAVIT EXECUTED.

C} ORDER APPOINTING FEDERAL PUBLIC DEFENDER.

C] PRIVATE COUNSEL APPOINTED

CL] DEFT HAS RETAINED COUNSEL

CL] ARRAIGNMENT SET LJIDETENTION HEARING SET

CL] PRELIMINARY HEARING SET LIBOND HEARING SET

CL) COUNSEL DETERMINATION HEARING SET

CL) IDENTITY/REMOVAL HEARING SET

[} BOND CISET CIREDUCED TO $ LCICASH (J SURETY 010% O) PR LXUNS F3RD PTY DIMW
CL) NO BOND SET AT THIS TIME, DAY DETENTION ORDER TO BE ENTERED.

(1) ORDER OF TEMPORARY DETENTION/COMMITMENT PENDING HEARING ENTERED.

() ORDER OF DETENTION PENDING TRIAL ENTERED.

C1) DEFT ADVISED OF CONDITIONS OF RELEASE.

LC] BOND EXECUTED LJIDEFT LIMW RELEASED CISTATE AUTHORITIES CINS

MWOEFT LIMW REMANDED TO CUSTODY.

C) DEFT ORDERED REMOVED TO ORIGINATING DISTRICT.

C) WAIVER OF CJPRELIMINARY HEARING CIRULE 5/32 HEARING LJIDETENTION HEARING
(1) COURT FINDS PROBABLE CAUSE UID LPC.

CZ DEFT FAILED TO APPEAR. ORAL ORDER FOR ISSUANCE OF BENCH WARRARISTRICT COURT
CO GOVERNMENT TO NOTIFY FOREIGN CONSULAR. NORTHERN DISTRIC CT OF TEXAS
CO FED. R. CRIM. P. 5(f)(1) ORAL ORDER ISSUED. WRITTEN ORDER fO FOLLO w. F LED

C1 REMARKS: Onclr Bp aan Ler

JUN 15 2022

CLERK, U.S. DISTRICT C T
By
Deputy (

